     Case
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1                               NOVEMBER 28TH, 2023

2                         (CALL TO THE ORDER OF THE COURT)

3                 THE COURT:    GOOD MORNING, BE SEATED.      THE PLAINTIFFS

4     MAY CALL THEIR NEXT WITNESS.

5                 MS. KEENAN:    YOUR HONOR, WE DO HAVE A HANDFUL OF

6     QUICK HOUSEKEEPING MATTERS FIRST, IF THAT'S OKAY?

7                 THE COURT:    YES.

8                 MS. KEENAN:    SO IT'S JUST THREE ITEMS, YOUR HONOR.

9     MEGAN KEENAN FOR THE PLAINTIFFS.        FIRST, DURING MS. (INAUDIBLE)

10    DIRECT YESTERDAY, THE COURT NOTED THAT SEVERAL OF THE EXHIBITS

11    HAD NONPUBLIC PERSONAL IDENTIFYING INFORMATION.           WE DID UPLOAD

12    THOSE EXHIBITS TO JERS WITH THE REDACTIONS.          DO YOU NEED US TO

13    LIST THE EXHIBITS THAT WERE REDACTED FOR THE RECORD OR IS IT

14    OKAY THAT WE JUST UPLOADED THEM?

15                THE COURT:    DID YOU SUPPLEMENT THE ONES THAT WERE IN

16    THERE?    SUZIE, HOW DO I NEED TO HANDLE THAT?

17                MS. KEENAN:    I BELIEVE WE REPLACED THEM TO AVOID

18    THE --

19                THE COURT:    THE DUPLICATE.

20                MS. KEENAN:    YES.

21                THE COURT:    OKAY.    THAT'S FINE.

22                MS. KEENAN:    OKAY.   SECOND, ALSO RELATED TO JERS, IN

23    PREPARING WITH SOME WITNESSES LAST NIGHT, WE NOTICED TWO OTHER

24    SMALL ERRORS ON JERS, WHICH WE'VE CORRECTED.          WE JUST WANTED TO

25    BRING IT TO THE COURT'S ATTENTION.        THE FIRST IS JOINT EXHIBIT




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